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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE

                                               )
CALVARY CHAPEL BELFAST                         )
                                               )
                                               )
                   Plaintiff                   )
                                               )
v.                                             )
                                               )
UNIVERSITY OF MAINE SYSTEM;                    )
BOARD OF TRUSTEES, University of               )
Maine System; RYAN LOW, individually           )
and in his official capacity as Vice           )
Chancellor for Finance and Administration,     )
                                                           Case No. 1:24-cv-00392-SDN
University of Main System; RACHEL              )
PIPER, in her official capacity as Executive   )
Director of Strategic Procurement and          )
Services, University of Maine System;          )
ROBIN CYR, in her official capacity as         )
Senior Director of Strategic Procurement,      )
University of Maine System; DEREK              )
HOUTMAN, in his official capacity as           )
Associate Strategic Sourcing Director,         )
University of Maine System,                    )
                                               )
                                               )
                 Defendants                    )

                                         STATUS REPORT

        In accordance with the conference held by this Court on November 20, 2024, Defendants

hereby report to the Court as follows:

     1. The University of Maine System (the “System”) has an appeals process in place that

allows a disappointed bidder or proposer in the context of a procurement award equal to or

greater than $50,000 to submit a protest of the procurement award to the Executive Director of

Strategic Procurement & Services. See Piper Declaration, attached as Exhibit A, at ¶¶ 3-4.
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     2. The procurement award issued in response to RFP 2025-31 is the subject of the above-

captioned action and one protest has been filed in response to that award. See Piper Declaration ¶

8.

     3. The protest is being handled pursuant to the System’s Administrative Practice Letter VII-

A (the “Purchasing Procedures”) and the appeal process set forth therein. See Piper Declaration

¶¶ 3-10.

     4. Pursuant to Section V(C)(4)(a)(ii) of the Purchasing Procedures, the award has been

stayed pending completion of the System’s appeal process and a final decision on the protest.

See Piper Declaration ¶ 5, 9-11.

     5. Accordingly, no steps will be taken to move toward finalizing an award until after the

appeal process is complete. See Piper Declaration ¶ 10.



Dated: November 21, 2024                      /s/ Jeana M. McCormick
                                              Melissa A. Hewey
                                              Jeana M. McCormick
                                              Attorneys for Defendants

                                              DRUMMOND WOODSUM
                                              84 Marginal Way, Suite 600
                                              Portland, Maine 04101-2480
                                              (207) 772-1941
                                              mhewey@dwmlaw.com
                                              jmccormick@dwmlaw.com




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